          Case 21-60052 Document 230 Filed in TXSB on 10/05/22 Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   VICTORIA DIVISION

IN RE:                                         §           CASE NO. 21-60052
                                               §           CHAPTER 7
SCOTT VINCENT VAN DYKE,                        §
                                               §
         DEBTOR                                §           JUDGE CHRISTOPHER M. LOPEZ

                       NOTICE OF EXHIBITS FOR STATUS CONFERENCE

         PLEASE TAKE NOTICE that attached hereto as Exhibit A are exhibits Catherine S.

Curtis, Chapter 7 Trustee (“Trustee”) intends to introduce at the Status Conference currently set

for Thursday, October 6, 2022, at 10:00 a.m.

         Dated: October 5, 2022                     Respectfully submitted,

                                                    CHAPTER 7 TRUSTEE

                                                    Catherine Stone Curtis
                                                    State Bar No. 24074100
                                                    P.O. Box 720788
                                                    McAllen, Texas 78504
                                                    (956) 467-1900; (956) 331-2815 fax

                                                    HUSCH BLACKWELL LLP


                                                    By: /s/ Lynn Hamilton Butler
                                                         Lynn Hamilton Butler
                                                         State Bar No. 03527350
                                                         111 Congress Avenue, Suite 1400
                                                         Austin, Texas 78707
                                                         (512) 479-9758; (512) 479-1101 fax
                                                         lynn.butler@huschblackwell.com

                                                    General Counsel to Catherine Stone
                                                    Curtis, Chapter 7 Trustee




HB: 4860-8778-0150.1
          Case 21-60052 Document 230 Filed in TXSB on 10/05/22 Page 2 of 2




                                CERTIFICATE OF SERVICE

        I certify that on the 5th day of October 2022, a true and correct copy of the foregoing was
served on the Debtor, counsel for the Debtor, the Trustee and the US Trustee via regular US Mail,
unless otherwise served by the CM-ECF system.



                                                     /s/ Lynn Hamilton Butler
                                                     Lynn Hamilton Butler




                                                2
HB: 4860-8778-0150.1
